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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA, INDIVIDUALLY, and : CIVIL ACTION NO.
TYLER SHEA, PPA KRISTEN SHEA, : 3:21-CV-00673-JCH
Plaintiffs,

Vv.

CHATERAM SIEUNARINE and
CHET TRANSPORT, LLC,

Defendants. ; MAY 13, 2022

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
MOTION TO DETERMINE SUFFICIENCY OF RESPONSES TO
REQUESTS FOR ADMISSION OF FACT AND DOCUMENT

The plaintiffs, Kristen and Tyler Shea, respectfully request, pursuant to
Fed. R. Civ. P. 36(a)(6), that the Court determine the sufficiency of the
defendants’ responses to several requests for admission of facts and their
response to a request for admission of document. Despite bona fide efforts on
the part of counsel for the parties to resolve disagreements over the defendants’
responses, counsel has been unable to arrive at an agreement. The plaintiffs,
therefore, ask that the Court determine the sufficiency of the Defendants’

Responses to Plaintiffs’ First Request for Admission of Fact dated May 6, 2022

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(attached hereto as Exhibit A) Nos. 2, 3, 4, 5, 6, 7, 8, 10, and 12, and the
Defendants’ Responses to Plaintiffs’ First Request for Admission of Document
dated May 6, 2022 (attached hereto as Exhibit B) No. 1.
I. Background

On April 6, 2022, the plaintiffs served on the defendants twelve requests
for admission of fact and one request for admission of document. See
Plaintiffs’ First Request for Admission of Fact (“Request for Admission of Fact”)
and Plaintiffs’ First Request for Admission of Document (“Request for
Admission of Document”), attached hereto as Exhibit C and Exhibit D. On May
6, 2022, the defendants responded to Plaintiffs’ Requests. See Defendants’
Responses to Plaintiffs’ First Requests for Admission of Fact, attached hereto
as Exhibit A, and Defendants’ Responses to Plaintiffs’ First Request for
Admission of Document, attached hereto as Exhibit B. On May 6, 2022,
counsel for the plaintiffs sent an email to defendants’ counsel, asking the
defendants to reconsider their responses based on the requirements of Rule 36.
On May 9, 2022, defendants’ counsel replied to plaintiffs’ counsel’s email.
Despite good-faith efforts by both parties to resolve the disagreements

regarding the defendants’ responses, the parties were unable to arrive at an

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agreement. Thus, the plaintiffs are constrained to ask the Court to determine
the sufficiency of defendants’ responses.
Il. Legal Standard

Pursuant to Fed. R. Civ. P. 36(a)(1), a party may serve on any other party
a request to admit the truth of any matters within the scope of Rule 26(b)(1)
relating to “facts, the application of law to fact, or opinions about either” and
“the genuineness of any described documents.” Additionally, this Court has
held that “Rule 36 permits requests for admission addressed to law, but only
as they relate to the application of law to fact.” Madej v. Yale Univ., No. 3:20-
CV-133 (JCH), 2020 WL 6270273, at *5 (D. Conn. Oct. 26, 2020); see also Apex
Oil Co. v. Belcher Co. of New York, 855 F.2d 1009, 1015 (2d Cir. 1988).

Pursuant to Fed. R. Civ. P. 36(a)(4), a party answering a request for
admission may not “assert lack of knowledge or information as a reason for
failing to admit or deny” unless such party states “that it has made reasonable
inquiry and that the information it knows or can readily obtain is insufficient to
enable it to admit or deny.” Further, “[i]f a matter is not admitted, the answer
must specifically deny it or state in detail why the answering party cannot

truthfully admit or deny it. Id.

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Regarding objections, Fed. R. Civ. P. 36(a)(4) provides that,
“(t]he grounds for objecting to a request must be stated.” In addition, the
United States Court of Appeals for the Second Circuit, discussing the
sufficiency of responses to requests for admission, has held that “Rule 26(g)
imposes a more stringent certification requirement than Rule 11 by requiring
that the signer certify that the ... objection is: (1) consistent with these rules ...
and (3) not unreasonable or unduly burdensome or expensive, given the needs
of the case, the discovery already had in the case, the amount in controversy,
and the importance of the issues at stake in the litigation. Apex Oil Co. v.
Belcher Co. of New York, 855 F.2d 1009, 1015 (2d Cir. 1988). If an objection is
not justified, the Court must order that an answer be served. Fed. R. Civ. P.
36(a)(6).

Finally, the party who has requested an admission “may move to

determine the sufficiency of the answer or objection.” Fed. R. Civ. P. 36(a)(6).
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III. Argument

a. This Court Should Compel The Defendants to Admit or Deny
Request For Admission of Fact Nos. 2, 3, 4, 5, 6, 7, 8, and 12

First, the defendants should be compelled to admit or deny Request for
Admission of Fact Nos. 2, 3, 4, 5, 6, 7, 8, and 12. In response to each of the
above requests, the defendants stated that they “object to this request to the
extent that it improperly calls for a legal conclusion or determination rather
than an admission of fact.” Ex. A Jf 2, 3, 4, 5, 6, 7, 8, and 12. The defendants
have supplied misplaced objections that do not comport with the requirements
of Fed. R. Civ. P. 36(a)(4) or Fed. R. Civ. P. 26(g).

The Plaintiffs’ Requests expressly call for the application of law to the
relevant facts referenced within each of the plaintiffs’ abovementioned requests.
See, e.g., Plaintiffs’ Requests for Admission of Fact Nos. 7 and 12 (requesting
defendants to admit, as of the date of the incident, whether they confirmed that
their truck and certain component equipment were in good working order and
safe operating condition as required under the referenced state and federal
regulations and statutes); Plaintiffs’ Requests for Admission of Fact Nos. 2-6, 8

(requesting defendants to admit whether they and their truck were subject to
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certain state and federal statutes and regulations as of the date of the
incident). These requests, unlike those at issue in Disability Rts. Council v.
Wash. Metro. Area, 234 F.R.D. 1 (D.D.C. 2006)1, squarely require the
application of law to fact, or opinions about the same, as expressly authorized
by Rule 36. The Plaintiffs’ Requests do not require that the defendants supply
or endorse a pure legal conclusion, nor do they seek to merely elicit the
defendants’ interpretation of any law; instead, they call for the defendants to
apply the referenced statutes and regulations regarding registered motor
carriers to specific, relevant facts. The defendants’ objections are unreasonable
and constitute yet another effort to burden the plaintiffs and increase the
expense of litigation.?

In United States ex rel. Bibby v. Mortg. Invs. Corp., 323 F.R.D. 424 (N.D.
Ga. 2017), the Court stated: “the question of whether and how a particular
statute applies to the given set of facts ... is a quintessential application of law

to fact.” Id. at 428. The Court’s analysis and distinction between permissible

* See Disability Rts. Council, 234 F.R.D. at *2-3 (holding that the defendant’s request for
admission stating: “Admit that neither the ADA nor the Rehabilitation Act require that
paratransit vehicles be equipped with adequate heat and air conditioning systems as referred
to in paragraph 38(a) of the Complaint” sought a pure legal conclusion and was thus
improper).

2 See, e.g., Dkt. Nos. 11, 12, 16, 17,20, 27, 28, 29,30, 31, 32, 33, 34, 37, 38, 40, and 41.
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and impermissible requests for admission concerning legal issues is
instructive; there, the district court noted that “[e]}xamples of requests held to
seek conclusions of pure law are: generally-worded legal conclusions, without
tying those conclusions to any facts presented.” (Internal quotations omitted;
internal citation omitted.) Id. at 428; see, e.g., Disability Rts. Council, supra,
234 F.R.D. at 2 (“Admit that the FTA has not adopted any regulations nor
published any guidance requiring drivers to compensate for traffic and
accidents on their route” is an example of a request held to seek a conclusion
of pure law). Further, the crucial distinction in determining the permissibility
of a request relating to a legal question “is not whether it applies to statutory ...
duties, but rather, [its] proximity and relevance to the discrete facts of the
case.” United States ex rel. Bibby, 323 F.R.D. at 428-29.

As but one example, the Bibby Court held that the plaintiffs’ request for
admission asking the defendant to admit that it is not a close corporation as
defined in a referenced Ohio statute was permissible and instructed the
defendant to respond. Id. at 429. This is exactly the type of admission that the
plaintiffs seek in Request Nos. 2 through 6, and 8. There can be little question

that Request Nos. 7 and 12 are also permissible, as they expressly seek
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admissions that apply the referenced laws to the specific facts and
circumstances regarding the condition of the defendants’ truck and certain of
its component equipment on the date of the incident.

It bears emphasis that the purpose of requests for admission is to
“reduce the costs of litigation by eliminating the necessity of proving facts that
are not in substantial dispute, to narrow the scope of disputed issues, and to
facilitate the presentation of cases to the trier of fact.” Concerned Citizens of
Belle Haven v. Belle Haven Club, 223 F.R.D. 39, 44 (D. Conn. 2004)
(Fitzsimmons, J.); see also City of Hartford v. Monsanto Co., No.
3:15CV1544(RNC), 2017 WL 3085682, at *2 (D. Conn. July 20, 2017)
(Martinez, J.) (“The purpose of requests for admission is to narrow issues for
trial.”). Thus, this Court should compel the defendants to admit or deny
Request Nos. 2, 3, 4, 5, 6, 7, 8, and 12.

b. This Court Should Compel The Defendants to Revise Their
Response to Request For Admission of Fact No. 10

This Court should also compel the defendants to revise their response to
Request for Admission of Fact No. 10. Request No. 10 states:

“Defendants admit that, except for the document attached hereto
as Exhibit A, the defendants have no records of any maintenance
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performed on the Freightliner commercial box truck that is the
subject of this lawsuit for at least five years prior to May 30, 2019.”

Ex. A, § 10. This request simply intends to establish that the defendants do
not have any additional records of vehicle maintenance for the subject box
truck other than that referenced within the attached exhibit. The defendants’
answer makes clear that they should be compelled to simply admit the request
without qualification. Noticeably absent from the defendants’ response is any
assertion that the defendants made a reasonable inquiry about the truth of
Request No. 10. According to Rule 36(a)(4), a party cannot “assert lack of
knowledge or information as a reason for failing to admit or deny” unless such
party states “that it has made reasonable inquiry and that the information it
knows or can readily obtain is insufficient to enable it to admit or deny.” Fed.
R. Civ. P. 36(a)(4).

Thus, the plaintiffs are perplexed by the defendants’ response to Request
No. 10 and ask that this Court compel the defendants to revise their response
to Request No. 10 so as to specify whether they are: (1) admitting the request;
(2) denying the request; or (3) asserting lack of knowledge, and if so, on what

basis.
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c. This Court Should Compel The Defendants to Admit or Deny
Request For Admission of Document No. 1

This Court should compel the defendants to admit or deny the Plaintiffs’
Request for Admission of Document No. 1. Plaintiffs’ Request for Admission of
Document states in relevant part: “the plaintiffs ... request that the defendants
... admit ... for the purpose of this action only and subject to all pertinent
objections to admissibility which may be interposed at trial, the genuineness of
the following document[.|” The document is then identified in 71 of the request
as “Gonzalo Truck Parts & Repair Invoice #92650 dated 2/5/2019, a copy of
which is attached hereto as Exhibit A.”

The defendants have failed to admit, deny or object to the genuineness of
the above-referenced document as required by Fed. R. Civ. P. 36(a), and have
instead provided a nonsensical answer that they have refused to revise despite
request. Therefore, the Court should compel the defendants to admit or deny
Plaintiffs’ Request for Admission of Document No. 1.

IV. Conclusion
The defendants should be compelled to admit or deny Plaintiffs’ Request

for Admission of Fact Nos. 2, 3, 4, 5, 6, 7, 8, and 12, and revise their response

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to Request for Admission of Fact No. 10 to specify whether they are admitting
or denying to the request, or are asserting lack of knowledge and if so, on what
basis. The defendants should also be compelled to admit or deny Plaintiffs’

Request for Admission of Document No 1.

EmOR

JEVIN C. SHEA ct13781
AN & Shea, LLC
400 Orange Street
New Haven, Connecticut 06511
203/787-1183

CERTIFICATION:

This is to certify that a copy of the foregoing was emailed or mailed postage
prepaid to the following on May13, 2022:

Mathew W. Beckwith
Melick & Porter, LLP
900 Main Street South
Southbyry, CT 0 8

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CYENDENEN & SHEA, LLC

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